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 Attorneys for Third-Party Defendant Ashley Miron Leshem

                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, CENTRAL DIVISION

 CAPANA SWISS ADVISORS AG, a Swiss            DECLARATION OF ASHLEY MIRON
 corporation; and AMERIMARK                   LESHEM
 AUTOMOTIVE AG, a Swiss corporation,
        Plaintiffs,
 v.
 RYMARK, INC., a Utah corporation;
 NICHOLAS THAYNE MARKOSIAN, an
 individual; JOHN KIRKLAND, an
 individual; and VICKY SMALL, an
 individual,
        Defendants.

 RYMARK, INC., a Utah corporation; and
 NICHOLAS THAYNE MARKOSIAN, an
 individual,
        Counterclaim Plaintiffs,
 v.
 CAPANA SWISS ADVISORS AG, a Swiss
 corporation; and AMERIMARK                   Case No. 2:23-cv-00467-TS-CMR
 AUTOMOTIVE AG, a Swiss corporation.          District Judge Ted Stewart
        Counterclaim Defendants.              Magistrate Judge Cecilia M. Romero
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  RYMARK, INC., a Utah corporation; and
  NICHOLAS THAYNE MARKOSIAN, an
  individual,
          Third-Party Plaintiffs,
  v.
  SHAEN BERNHARDT, an individual;
  ASHLEY MIRON LESHEM, an
  individual; DAVID HESTERMAN, an
  individual; NICOLAI COLSHORN, an
  individual; STEFAN KAMMERLANDER,
  an individual; ALEXANDER COENEN,
  an individual; MARTIN FASSER HEEG,
  an individual; AMERIMARK GROUP
  AG, a Swiss corporation; and
  PHILOMAXCAP AG, a German
  corporation,
          Third-Party Defendants.

        I, Ashley Miron Leshem, hereby declare as follows:

        1.       I am over 18 years of age and have personal knowledge of the statements

 contained in this declaration. If called to testify, I would and could testify as set forth herein.

        2.       Since late 1994, I have been a full-time resident of Florida and, specifically, Boca

 Raton, Florida.

        3.       I obtained my Bachelor of Arts Degree from Columbia University in New York

 City in 1985.

        4.       I began my professional career at Bear, Stearns & Co., Inc. in New York City on

 or about September 3, 1985. At that time, I was the youngest institutional sales representative.

 Thereafter, I worked with other well-established investment firms, including Dean Witter

 Reynolds Inc., working with institutional and retail customers.




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        5.      I currently provide consulting services to an array of companies, ranging from

 development-stage to middle-market companies. These services include assisting companies in

 obtaining admission to trading on certain European-based exchanges, advising companies on

 structuring financing transactions, and assisting companies in developing their overseas business

 by identifying potential strategic alliances, acquisition targets, and business partnerships.

        6.      After I moved to Florida in 1994, I founded the firm of Ananda Capital Partners,

 Inc., a Florida corporation (“Ananda”), on or about 1999, which was authorized and registered to

 do business in Florida.

        7.      I was the founder, sole shareholder, sole officer, sole director, and sole employee

 of Ananda.

        8.      It was solely through Ananda and from my Florida-based office, that I provided

 consulting and advisory services on behalf of Ananda.

        9.      Subsequent to Ananda’s dissolution in September of 2018, Grantchester Equity,

 Inc., a Delaware corporation (“Grantchester”), became the successor corporation to Ananda.

        10.     I am the founder, sole shareholder, sole officer, sole director, and sole employee

 of Grantchester.

        11.     It is solely through Grantchester and from my Florida-based office, that I provide

 consulting and advisory services on behalf of Grantchester.

        12.     On April 1, 2016, Ananda entered into a contract with Rymark, Inc. (“Rymark”)

 styled “Listing Agreement.” Attached hereto as Exhibit “1” is a true and correct copy of the

 Listing Agreement.




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        13.      Pursuant to the Listing Agreement, Ananda, and later Grantchester, provided the

 following services:

                (a)    Formed Swiss holding entities—AmeriMark Automotive AG in 2016 and

        AmeriMark Group AG in 2018;

                (b)    Completed materials related to the application of those Swiss entities to

        have their shares admitted to trading on the Marche Libre exchange in Paris, France and

        other exchanges in Malta and Austria in 2017 through 2019;

                (c)    Identified and caused foreign consultants to be retained, including

        vendors, and advisors to the Swiss entities, all of whom were based outside the United

        States; and

                (d)    Raised capital outside the United States for the Swiss entities to fund their

        day-to-day operations in Switzerland.

        14.     It was solely through Ananda, and later Grantchester, and solely from my Florida

 based location that I performed any Services under the Listing Agreement.

        15.     I am not a resident of Utah and have never lived in Utah.

        16.     I am not, and never have been, an employee, officer, director, member, or

 shareholder of a Utah entity.

        17.     I do not own or lease, and have never owned or leased, real property in Utah.

        18.     I do not own or lease, and have never owned or leased, personal property in Utah.

        19.     I do not have any legal or beneficial ownership of any bank or other financial

 accounts in Utah.




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        20.      I do not market or advertise, and have never marketed or advertised, my services

 in Utah.

        21.      I do not solicit, and have never solicited, business in Utah.

        22.      Aside from this lawsuit, I have never been a party to a lawsuit in Utah.

        23.      With respect to my consulting and advisory services related to this lawsuit, I did

 not solicit Nicholas Thayne Markosian (“Markosian”) or anyone at Rymark. Rather, it was

 Markosian (the owner of Rymark at the time) who approached me to discuss whether Rymark

 (which Markosian represented was seeking to raise capital) was a suitable or eligible candidate to

 be admitted to trading on a foreign exchange. I responded to Markosian that any admission to a

 foreign exchange could only be done through the medium of a foreign holding company. At the

 time, I suggested that a Swiss domiciled company would be the optimal vehicle to have shares

 admitted to a foreign exchange.

        24.      Subsequently, Markosian and David Hesterman (“Hesterman”) travelled to

 Florida in early 2016 to meet with me in Fort Lauderdale. That was my only physical meeting

 with Markosian or anyone else at Rymark. All other communications with Rymark in

 connection with Ananda/Grantchester’s services, were through email or telephone calls from my

 Florida office. There were no in-person meetings in Utah.

        25.      After discussing with Rymark the benefits, requirements, and the process of a

 foreign-based exchange listing, Rymark retained Ananda and executed the Listing Agreement.

        26.      I performed all of my services related to Rymark as an employee of Ananada or

 Grantchester.




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        27.      Pursuant to the Listing Agreement, I used my best efforts to attempt to get the

 shares of the Swiss holding entities admitted for trading on a foreign exchange, namely, the

 Marché Libre (a multilateral trading facility that is part of the Euronext network of securities

 exchanges) and, later, the Malta and Vienna Stock exchanges.

        28.      At no time did my services with respect to Rymark include any attempt to list

 Rymark or any other entity on any U.S.-based exchange or trading platform.

        29.      My very first action subsequent to the execution of the Listing Agreement, was to

 introduce Rymark to Swiss counsel, Gysi & Partners located in St. Gallen, Switzerland. I

 understand that Rymark directly retained that Swiss law firm and contributed 100% of its shares

 in-kind to capitalize the new Swiss entity, AmeriMark Automotive AG, whose formation was

 formally registered in the Swiss commercial registry on June 6, 2016.

        30.     To my knowledge, all documents pertinent to the formation of AmeriMark

 Automative and the subject contribution in-kind were executed by lawyers domiciled in

 Switzerland, having a power of attorney to do so in Switzerland on behalf of Rymark. To my

 knowledge, each of those documents were executed in Switzerland and provided that they would

 be governed under the sole and exclusive jurisdiction, and under the laws, of Switzerland. To

 my knowledge, Markosian first appointed lawyers at Gysi & Partners in Switzerland via power

 of attorney agreements between Markosian and such foreign lawyers in 2016 (to effectuate the

 formation of AmeriMark Automotive and the contribution in-kind of 100% Rymark shares to

 AmeriMark Automotive) and then again in in 2018 (to effectuate the contribution of AmeriMark

 Automotive shares to AmeriMark Group to capitalize a second class of shares of the Swiss entity

 that came to be re-named AmeriMark Group AG).


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        31.     To my knowledge, execution of the transactions creating the Swiss entity

 AmeriMark Automotive AG, which came to hold 100% of Rymark, was effectuated by Swiss

 legal counsel physically located in Switzerland and performed and governed under Swiss law.

        32.     To my knowledge, execution of the transactions creating the Swiss entity

 AmeriMark Group AG which came to hold 100% of AmeriMark Automotive was effectuated by

 Swiss legal counsel retained by Rymark and Markosian, which counsel was physically located in

 Switzerland and performed their legal services under Swiss law.

        33.     As such, to my knowledge, the documents forming the foreign entities

 AmeriMark Automotive and AmeriMark Group were executed in Switzerland and not in Utah or

 the United States for that matter, and my role, from my office in Florida, was only as an advisor

 and consultant.

        34.     Since June 6, 2016, Rymark has been a wholly-owned subsidiary of AmeriMark

 Automotive AG, and this ownership is a matter of public record pursuant to the commercial

 register in Switzerland, which is the official record of Swiss corporate formation.

        35.     As set out above, all of my consulting and advisory services were “foreign

 focused” and directed at Europe; they were not directed at Utah.

        36.     Indeed, all of the relevant professional service providers (e.g., listing sponsors,

 capital market coaches, auditors, and other professional service providers necessary to apply for

 and obtain listing on a foreign exchange) were based in Europe. All such service providers were

 retained by Rymark through its authorized agents. To my knowledge, those providers’ services

 were contracted for and effectuated under agreements made in Europe and under foreign law. To

 my knowledge, Rymark (including Markosian) knew and understood at all times the nature of


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 those agreements, approved all such agreements, and approved all of the foreign professionals

 and other individuals that were retained to effectuate the agreements and other transactions in

 Europe.

        37.     As to payment for the services rendered under the Listing Agreement, Rymark

 caused monies to be paid to Ananda in Florida.

        38.     My communications with Rymark and its representatives were limited to email

 and telephone calls with Rymark and, specifically, Markosian (Rymark’s founder and CEO),

 Eric Gardner (Rymark’s CFO), Vicky Small (Rymark’s Controller), and John Kirkland

 (Rymark’s COO). Other than the initial meeting between myself, Hesterman, and Markosian in

 Fort Lauderdale, no other meetings ever took place between me, on the one hand, and Rymark,

 or anyone at Rymark, on the other hand, and no such meetings occurred in Utah.

        39.     Rymark and Markosian allege that I was part of a scheme to “pump and dump”

 shares for my benefit. However, at no time did I or any entity I controlled ever own any shares

 of Rymark, AmeriMark Group, AmeriMark Automotive, or any other party named in the Third-

 Party Complaint (Dkt. 139) (the “TPC”). Therefore, I could not and did not benefit from any

 such alleged scheme.

        40.     As to Rymark and Markosian’s claim that there was a so-called “meeting of the

 minds” as to the alleged “pump and dump” scheme, the parties named as so-called co-

 conspirators, were a completely unaffiliated, disparate group of service advisors, most of whom

 likely had never heard of each other prior to their engagement by Rymark, and each of whom

 were engaged at different times over a four-and-a-half-year period to provide one or more




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 different tasks in an international effort to have the shares of the Swiss holding companies

 admitted for trading on a foreign exchange.

        41.     At the end of the day, Ananda/Grantchester was successful in causing AmeriMark

 Group AG, the Swiss holding entity, to have its shares admitted for trading on the Vienna Direct

 Multi-Lateral Trading Facility, a segment of the Austrian based Vienna Stock Exchange—a

 foreign exchange—on August 22, 2019.

        42.     In the Listing Agreement, Rymark (through its owner and officer Markosian) and

 Ananda agreed and consented that if any dispute arose from such Agreement, the parties would

 file suit in a Florida state court and that Florida law would apply.

        43.     When I was served with a summons and the TPC in this action, the TPC did not

 contain any of the numerous exhibits cited in the TPC.

        I declare under criminal penalty of the law of Utah that the foregoing is true and correct.

        Signed on the 25th day of February 2025, in Bocca Raton, Florida.



                                                       /s/ Ashley Miron Leshem___________
                                                       (with permission via email)
                                                       Ashley Miron Leshem




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                                   CERTIFICATE OF SERVICE

         I hereby certify that I am employed by the law firm of MCNEILL VON MAACK, 236 South

  300 East, Salt Lake City, Utah 84111, and that, pursuant to Rule 5(b) of the Federal Rules of

  Civil Procedure, a true and correct copy of the foregoing DECLARATION OF ASHLEY

  MIRON LESHEM was delivered this 27th day of February, 2025, via CM/ECF to all parties and

  counsel registered to receive email notices of filings.




                                                /s/ Camille Coley_________________________




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